                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN
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BRENDA JACKSON and
SHERRI LISIECKI,

             Plaintiffs,                         Case No. 02-C-936

v.

RACINE COUNTY,

           Defendant.
____________________________________________________________________________

THE ESTATE OF LINDA R. SCHULTZ,

             Plaintiff,                          Case No. 02-C-1262

v.

RACINE COUNTY,

            Defendant.
____________________________________________________________________________

PATRICIA BIRCHELL-SIELAFF,

             Plaintiff,                          Case No. 02-C-1263

v.

RACINE COUNTY,

             Defendant.
__________________________________________________________________________________

   DECISION AND ORDER ON RACINE COUNTY’S AND THE PLAINTIFFS’
                CROSS-MOTIONS FOR SUMMARY JUDGMENT
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        On September 19, 2002, co-plaintiffs Brenda Jackson (“Jackson”) and Sherri Lisiecki

(“Lisiecki”) filed case number 02-C-936 against Racine County. Their complaint alleges sexual

harassment by Robert Larsen (“Larsen”), the Racine County child support division supervisor, and

retaliation, in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. On

December 27, 2002, Patricia Birchell-Sielaff (“Birchell-Sielaff”) and Linda Nutt, who is now

proceeding as the Estate of Linda R. Schultz (“Schultz”), filed case numbers 02-C-1263 and 02-C-

1262 respectively. Both of those cases also allege Title VII claims against Racine County based on

retaliation and Larsen’s alleged sexual harassment.

        Based on the same defendant and allegations common to all three cases, the parties agreed to

consolidate the cases for purposes of discovery. (Order April 2, 2003.). Discovery is now closed, and

the parties have filed cross-motions for summary judgment. Although the three cases are not

consolidated for purposes summary judgment, the issues presented in the parties’ cross-motions for

summary judgment are related. Accordingly, the court will address all of the parties’ motions in this

decision, and will discuss facts and issues relevant to a particular plaintiff where necessary.

        The pleadings on the parties’ motions for summary judgment are now closed and they are

ready for resolution. Jurisdiction is proper based on federal questions. 28 U.S.C. § 1331. Venue is

proper in the Eastern District of Wisconsin. 28 U.S.C. § 1391(b). In addition, the parties have

consented to exercise of this court’s full jurisdiction, including the entry of final judgment. 28 U.S.C.

§ 636(c); FED . R. CIV . P. 72(c).

                         Racine County’s Motion for Summary Judgment

        Racine County seeks summary judgment as to all of the plaintiffs, claiming: (1) that the

plaintiffs’ allegations do not establish hostile work environment sexual harassment, as that term is


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defined by Title VII and (2) that the requirements of the affirmative defense set forth in Faragher v.

City of Boca Raton, 524 U.S. 775 (1998) and Burlington Industries Inc. v. Ellerth, 524 U.S. 742

(1998) are satisfied. In support of its second claim, Racine County submits that none of the plaintiffs

suffered an adverse employment action, that it exercised reasonable care to prevent the complained

of behavior, and that the plaintiffs failed to take advantage of available preventative opportunities.

(Racine County Br. at 4.). Racine County also claims that summary judgment as to all plaintiffs is

appropriate because none of the plaintiffs have established a prima facie case of retaliation or that

Racine County’s reasons for its actions were pretextual. (Racine County Br. at 22.). In addition,

Racine County seeks summary judgment as to Schultz, claiming that Schultz died on March 27, 2003

and has presented no evidence based on personal knowledge. (Racine County Br. at 3-4; Racine

County PFOF ¶¶ 43-44.).

                     The Plaintiffs’ Motions for Partial Summary Judgment

       The plaintiffs oppose Racine County’s motions for summary judgment. In addition, each

plaintiff has filed her own motion for partial summary judgment as to their respective hostile work

environment claims. In support of their motions for partial summary judgment, and in opposition to

Racine County’s motions, the plaintiffs claim that the elements of a prima facie case for a hostile work

environment are satisfied, as a matter of law, in this case. In conjunction with the fourth element of

a prima facie case—which requires the plaintiffs to demonstrate that there is a basis for imputing

liability for Larsen’s actions to Racine County—the plaintiffs claim that the Faragher/Ellerth defense

to employer liability does not apply under these facts.




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        In opposition to Racine County’s motion for summary judgment on their retaliation claims,

the plaintiffs essentially argue that they lost substantial job responsibilities and were not

communicated with as a result of their claims against Larsen.

                                               Analysis

        A motion for summary judgment will be granted when there are no genuine issues as to

material fact and the movant is entitled to judgement as a matter of law. FED . R. CIV . P. 56(c). As

provided under Rule 56(c), only “genuine” issues of “material” fact will defeat an otherwise “proper”

motion for summary judgment. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). “[M]aterial facts

are those facts which, under the governing substantive law, “might affect the outcome of the suit.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute of such material facts is

“genuine” if the evidence is such that a reasonable trier of fact could find in favor of the non moving

party. Id.

        The movant bears the burden to establish that there is no genuine issue of material fact and that

it is entitled to judgment as a matter of law. FED . R. CIV . P. 56(c); Adickes v. S.H. Kress & Co., 398

U.S. 144, 159 (1970); see also Celotex Corp., 477 U.S. at 323 (the moving party has the responsibility

of informing the court of portions of the record or affidavits that demonstrate the absence of a triable

issue). In addition, the moving party may meet its burden to show an absence of a material issue by

demonstrating “that there is an absence of evidence to support the nonmoving party’s case.” Celotex

Corp., 477 U.S. at 325. Any doubt as to the existence of a genuine issue for trial is resolved against

the moving party. Anderson, 477 U.S. at 255; Cain v. Lane, 857 F.2d 1139, 1142 (7th Cir. 1988);

Spring v. Sheboygan Area School Dist., 865 F.2d 883, 886 (7th Cir. 1989). If the moving party meets

its burden, the nonmoving party then has the burden to present specific facts showing that there is a


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genuine issue of material fact. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574,

586-87 (1986).

       The summary judgment standard is “applied with added rigor in employment discrimination

cases, where intent and credibility are crucial issues.” Sarsha v. Sears, Roebuck & Co., 3 F.3d 1035,

1038 (7th Cir. 1993). Further, “on summary judgment, a court can neither make a credibility

determination nor choose between competing interests.” Id. at 1041.

       Each party has submitted numerous proposed findings of fact in support of their respective

motions. For example, plaintiff Brenda Jackson’s submission contains 250 separate statements of fact.

The defendant has submitted a total of 176 proposed findings of fact, and many have sub-parts. The

court has reviewed and compared these submissions and has concluded that for purposes of this

decision, it is not necessary to engage in an extensive discussion of undisputed and disputed facts.

This is because the basic position of Racine County is that the facts alleged by the plaintiff are not

actionable under Title VII. The court will therefore only refer to certain facts, as deemed appropriate,

to support its decision.

                       I. HOSTILE WORK ENVIRONMENT CLAIMS

       To establish prima facie case of hostile work environment sexual harassment, the employee

must show that: (1) he or she was subjected to unwelcome sexual harassment in form of sexual

advances, requests for sexual favors, or other verbal or physical conduct of sexual nature; (2) the

harassment was based on sex; (3) the harassment had effect of unreasonably interfering with

employee's work performance in creating intimidating, hostile, or offensive working environment that

affected seriously the psychological well-being of employee; and (4) there is basis for employer

liability. Moser v. Indiana Dept. of Corrections, 406 F.3d 895, 902 (7th Cir. 2005); Hall v. Bodine


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Elec. Co., 276 F.3d 345, 354-55 (7th Cir. 2002); Parkins v. Civil Constructors of Illinois, Inc., 163

F.3d 1027, 1032 (7th Cir. 1998).

        While the parties raise many issues in support of and in opposition to their motions for

summary judgment, the first issue that the court will address is whether the plaintiffs are able to satisfy

the third element of a hostile work environment claim. If Larsen’s conduct is not actionable by failure

to satisfy the prima facie requirements, summary judgment in favor of Racine County is mandated,

and the court need not reach other issues raised by the parties, including whether the plaintiffs made

reasonable efforts to report Larsen’s conduct and whether Racine County’s response to the plaintiffs’

claims was adequate.

        The Seventh Circuit Court of Appeals has discussed what constitutes an actionable hostile

work environment claim in numerous cases. An employee must demonstrate that her co-worker or

supervisor harassed her because of her sex to maintain an actionable claim. Hilt-Dyson v. City of

Chicago, 282 F.3d 456, 462 (7th Cir. 2002). As it has been made very clear in this circuit and others,

not all offensive workplace behavior violates the law. Smith v. Sheahan, 189 F.3d 529, 532 (7th Cir.

1999). “The harassment must be ‘so severe or pervasive as to alter the conditions of [the victim’s]

employment and create an abusive working environment.’” Hilt-Dyson, 282 F.3d at 462 (emphasis

added). A “hostile work environment is one that is ‘both objectively and subjectively offensive, one

that a reasonable person would find hostile or abusive and one that the victim in fact did perceive to

be so.’” Id. at 463. A number of factors may be considered when determining whether there is an

objectively determinable hostile work environment. Some of those factors include: (1) the frequency

of the discriminatory conduct; (2) the severity of the conduct; (3) whether the conduct was physically

threatening or humiliating or was it merely an offensive utterance; and (4) whether the harassment


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interferes with the employees work performance. Adusumilli v. City of Chicago, 164 F.3d 353, 361

(7th Cir. 1998); Hostetler v. Quality Dining, Inc., 218 F.3d 798, 806-07 (7th Cir. 2000). The objective

severity of the harassment should be made from a reasonable person point of view, considering all the

circumstances and the social context, lest Title VII become a “general civility code for the American

workplace.” Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75, 80 (1998).

       While less egregious acts of harassment must be frequent or pervasive before they will create

a hostile work environment, one event, if severe enough, can create a hostile work environment. See

King v. Board of Regents of Univ. of Wis. Sys., 898 F.2d 533, 537 (7th Cir.1990); Bohen v. City of

East Chicago, Indiana, 799 F.2d 1180, 1186-87 (7th Cir.1986). However, no magic number of events

are required. Doe v. R.R. Donnelley & Sons Co., 42 F.3d 439, 445 (7th Cir.1994). “‘[T]he occasional

vulgar banter, tinged with sexual innuendo of course or boorish workers, generally does not create a

work environment that a reasonable person would find intolerable.” Hilt-Dyson, 282 F.3d at 463.

       All of the plaintiffs claim that Larsen’s conduct created a hostile work environment. Racine

County submits that it did not. Specifically, Racine County claims that Larsen’s actions were not

objectively severe enough nor pervasive enough to create a hostile work environment, even if all of

the plaintiffs’ allegations are considered true. The court agrees. While it is often difficult to discern

the line that separates conduct that is merely vulgar and mildly offensive from conduct that is deeply

offensive and sexually harassing, a review of the case law in this circuit demonstrates that the conduct

alleged by the plaintiffs, even if deemed offensive, is not actionable under Title VII. The court will

first cite cases in this circuit in which the conduct was found actionable and then analyze plaintiffs’

allegations to see whether they cross the actionable threshold.




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       In Smith v. Sheahan, the Seventh Circuit found a hostile work environment when a male co-

worker called the female plaintiff “a ‘bitch,’ threatened to ‘fuck her up,’ pinned her against a wall,

and twisted her wrist severely enough to damage her ligaments, draw blood and eventually require

surgical correction.” 189 F.3d 529, 531 (7th Cir. 1999). In Hostetler v. Quality Dining Inc, the

Seventh Circuit reversed the decision granting summary judgment for the employer when a co-worker

(1) forcibly kissed the plaintiff, (2) attempted to unfasten the plaintiff’s brassiere on a separate

occasion, when the plaintiff turned away and buried her face in her lap to avoid another unwelcome

kiss, and (3) approached the plaintiff while she was attending to customers and told her that he could

perform oral sex on her so effectively that “‘[she] would do cartwheels.” 218 F.3d at 798 (alterations

in original). And finally, in Carr v. Allison Turbine Division, General Motors Corp., the Seventh

Circuit affirmed the district court’s conclusion that co-workers’ conduct was actionable, where the

plaintiff alleged that her co-workers:

       1.      made derogatory comments of a sexual character to her on a daily basis, such as, “I
               won’t work with any cunt”;
       2.      continually referred to Carr by such terms as “whore,” “cunt,” and “split tail;”
       3.      painted “cunt” on her toolbox;
       4.      played various sex- or gender-related pranks on Carr, such as painting her toolbox pink
               and, without Carr’s knowledge, cutting out the seat of her overalls;
       5.      covered her tool box and work area with signs, pictures, and graffiti of an offensive
               sexual character;
       6.      hid and stole Carr’s tools and equipment;
       7.      hung nude pin-ups around the shop;
       8.      stripped to their underwear in front of Carr when changing into and out of their work
               clothes;
       9.      placed an obscene Valentine Day’s card, addressed to “Cunt,” on Carr’s toolbox;
       10.     exposed themselves to Carr on two occasions;
       11.     told Carr that if one of the male co-workers fell from a dangerous height in the shop
               she would have to give him “mouth to dick” resuscitation;
       12.     urinated from the roof of the shop in Carr’s presence;
       13.     in Carr’s presence, accused a black employee of being “after that white pussy, that is
               why you want a woman here, you want some of that;”


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        14.     frequently made comments such as “I'll never retire from this tinsmith position because
                it would make an opening for a nigger or a woman;” and
        15.     threw a burning cigarette at Carr.

32 F.3d at 1009-1010.

                                      The Plaintiffs’ Allegations

        The egregious conduct described in all three of these cases differs dramatically from the

conduct alleged by the plaintiffs. Of all the plaintiffs, Jackson’s allegations are the closest to being

“severe or pervasive.” In terms of physical contact, Jackson claims that Larsen touched her on a daily

basis and, on one occasion, placed his arm around her and kissed her on the lips. (Jackson and

Lisiecki Resp. Br. at 12; Jackson and Lisiecki Proposed Findings of Fact (hereinafter “PFOF”) ¶ 75.).

In addition, Jackson says that, on two occasions, Larsen wet his finger, stuck it in her ear and blew into

her ear. (Jackson and Lisiecki PFOF ¶ 80.).

        Jackson also cites comments that Larsen allegedly made to her or within her hearing.

Specifically, Jackson claims that Larsen sent her emails containing sexual innuendos, made jokes

about women, asked “[c]an I give you a kiss?”while offering her chocolate Hershey kisses, told her

that he and his wife “had sex all weekend, and discussed rumors that he fathered a co-worker’s child

and was having an affair. (Id. ¶¶ 67, 69, 84, 86, 95.). On one occasion, Larsen allegedly made gutteral

noises, stared at Jackson and asked Jackson whether she had pulled her sweater up or whether the

sweater had moved its way up when she bent over. (Id. ¶ 78.). On another occasion Larsen allegedly

said “[c]an you do this? Because that is the only important one” while moving his hand near his penis

to simulate masturbation. (Id. ¶ 85.). Furthermore, Jackson claims that Larsen once said she had a

“great set of boobs” and at one time involved her in a plan to bring a female employee into the child

support division. (Id. ¶¶ 79, 94.). According to Jackson, Larsen wanted to work with the employee


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because he missed her and commented that “he couldn’t wait to have [the employee] working

underneath him again, oh underneath me.” (Id. ¶ 94.). Jackson also says that she saw Larsen “rubbing

on” Lisiecki, observed Larsen stick his wet finger in Lisiecki’s ear and blow in it, heard Larsen

comment on the way Lisiecki and Schultz looked wearing skirts, and heard Larsen comment on the

size of a female co-worker’s butt. (Id. ¶¶ 88-91.).

       As to professional actions, Jackson claims that Larsen frequently changed the staff she

supervised, said that he might transfer Jackson’s position to another department, did not include

Jackson in management meetings, disciplined Jackson for moving a report and told Jackson “you’ve

been a good girl, you’ve earned it.” (Id. ¶¶ 71-77, 100-104.). Jackson believes that these actions were

triggered by her refusal to accept Larsen’s offensive behavior and the fact that Jackson told Larsen he

was “sick.” In addition, Jackson claims that Larsen slammed his door and yelled at the female

employees but did not do those things to the male employees. (Id. ¶¶ 106-107.).

       The allegations submitted by Lisiecki, Birchell-Sielaff, and Schultz are similar to the

allegations submitted by Jackson. Lisiecki claims that Larsen made comments to her regarding her

clothing, looked her up and down, looked at other female employees in a “sexually related” manner,

sent sexually explicit emails, said he would love to be under Lisiecki’s desk on one occasion,

suggested that Lisiecki come to work in her swim suit in response to Lisiecki’s complaint that the

office was hot, and told a female co-worker employee to tell her husband that she “went up and down

with Bob.” (Id. ¶¶ 126, 130-131, 142, 148.). Lisiecki also says that, on one occasion, Larsen blew

into her ear and touched the back of her neck and that Larsen regularly touched her hair or shoulders

when he brought Lisiecki an assignment or gave her instructions. (Id. ¶¶ 143-144; Jackson and

Lisiecki Resp. Br. at 10.). Lisiecki also claims that Larsen told her she might be promoted, that he did


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this because he wanted to “take liberties with her,” and that he no longer discussed her promotion after

Lisiecki refused to accept his behavior. (Id. ¶¶ 132-140; Jackson and Lisiecki Resp. Br. at 10.).

       Birchell-Sielaff says that Larsen gave out chocolate Hersey’s kisses during meetings that she

conducted, favored certain female employees and then changed his attitude to favor other employees,

acted erratically, slammed doors, commented on how female employees looked in particular clothing,

commented on a female employee’s breast on one occasion, made sexual jokes, discussed his sex life,

talked about female employees that he found unattractive, and disciplined Birchell-Sielaff after she

expressed concerns regarding the workload of the enforcement staff. (Birchell-Sielaff and Schultz

Joint PFOF ¶¶ 12, 19-20, 25-31, 37, 80-82; Birchell-Sielaff Resp. Br. at 25-26.).

       Similarly, Schultz submits she too was subjected to Larsen’s presentation of Hersey’s kisses,

jokes and emails, erratic and angry behavior, comments about her appearance in particular clothing,

leering, and comments regarding the appearance of other female employees. In addition, Schultz says

that Larsen hugged her, assigned her long work hours and tasks outside of her job description, and

if Larsen saw Schultz eating her morning breakfast of a banana, he commented that he liked watching

her eat the banana. (Schultz Resp. Br. 21-23; Pls.’ Joint Resp. to Def.’s PFOF ¶ 44; Birchell-Sielaff

and Schultz Joint PFOF ¶ 33-39.).

                                               Analysis

       Some of the conduct cited by the plaintiffs certainly falls far short of what the Seventh Circuit

deems actionable. For example, although the plaintiffs might have been subjectively offended when

Larsen offered them a Hersey’s chocolate kiss and said “can I give you a kiss,” such a statement is not

objectively threatening, harsh, or abusive. It could not even be categorized as vulgar. As stated in

Baskerville v. Culligan Int’l Co., comments that have the “sexual charge of an Abbott and Costello


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movie” and that “could [easily] be repeated on primetime television” are not the type that trigger Title

VII liability. 50 F.3d 428, 431 (7th Cir. 1995). Similarly, while Larsen’s alleged comment that

Jackson was a “good girl” who earned her discipline might be categorized as mean or unkind, it is not

sexual and is not comparable to the demeaning slurs used in Carr and Smith. Far worse than those

comments—or any of the specific comments allegedly made to the plaintiffs—have been deemed not

actionable by the Seventh Circuit. See e.g. Patt v. Family Health Sys., Inc., 280 F.3d 749, 754 (7th

Cir.2002)(holding that plaintiff's complaints of eight gender-related comments during course of her

employment, including that “the only valuable thing to a woman is that she has breasts and a vagina,”

insufficient to demonstrate hostile work environment).

       Moreover, while the Seventh Circuit allows the court to consider conduct that is directed at

other employees when evaluating the totality of the plaintiff’s work environment, such conduct is less

offensive than conduct that is directed at the plaintiff. Cowan v. Prudential Ins. Co., 141 F.3d 751,

758 (7th Cir. 1998)(citing Gleason v. Mesirow Financial, Inc., 118 F.3d 1134, 1144(7th Cir. 1997(“the

impact of ‘second-hand harassment’ is obviously not as great as the impact of harassment directed at

the plaintiff”)). Accordingly, comments that Larsen allegedly made to the plaintiffs about the

appearance other female employees bear less weight than the comments directed towards the plaintiffs

themselves. Similarly, the plaintiffs’ observations of physical contact with other employees are less

significant than the physical contact that Larsen allegedly had with the plaintiffs directly.

       In that regard, it is indeed troubling that Larsen allegedly kissed Jackson on one occasion;

stuck his finger in Jackson’s ear on two occasions; regularly “touched” Jackson; touched Lisiecki’s

hair, neck, and shoulders when giving her instructions; on one occasion, blew into Lisiecki’s ear and

touched the back of her neck; and hugged Schultz. These physical contacts (to which the court


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assumes that the plaintiffs did not consent) have a greater propensity to be threatening and intimidating

than any of the comments that the plaintiffs cite. However, not every physical contact necessitates the

conclusion that a work environment was severe or pervasive. The Hostetler court differentiated the

type of physical contact that is actionable from the type that is not actionable as follows:

       Physical harassment lies along a continuum just as verbal harassment does. There are
       some forms of physical contact which, although unwelcome and uncomfortable for the
       person touched, are relatively minor. Cumulatively or in conjunction with other
       harassment, such acts might become sufficiently pervasive to support a hostile
       environment claim, but if few and far between they typically will not be severe enough
       to be actionable in and of themselves. A hand on the shoulder, a brief hug, or a peck
       on the cheek lie at this end of the spectrum. Even more intimate or more crude
       physical acts–a hand on the thigh, a kiss on the lips, a pinch of the buttocks–may be
       considered insufficiently abusive to be described as ‘severe’ when they occur in
       isolation.

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       When the harassment moves beyond the sort of casual contact which (if it were
       consensual) might be expected between friendly co-workers, and manifests in more
       intimate, intrusive forms of contact, it becomes increasingly difficult to write the
       conduct off as a pedestrian annoyance.

Hostetler, 218 F.3d at 808 (internal citations omitted).

       With these standards in mind, this court concludes that the physical contacts between Larsen

and the plaintiffs are not the type that would allow a hostile work environment claim, even when

viewed in conjunction with the plaintiffs’ other allegations. Jackson’s general allegation that Larsen

regularly “touched” her, without specification as to where she was touched or any indication that the

touching went beyond “[a] hand on the shoulder, a brief hug, or a peck on the cheek” means that the

conduct lies at the end of the spectrum that is not severe. The same is true in regard to the hugging

cited by Schultz and the contacts cited by Lisiecki.          The other physical contacts cited by

Jackson—Larsen sticking his finger in Jackson’s ear and kissing her without consent—are more


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intrusive. However, they rarely occurred and, under the quoted passage from Hostetler, would still

fall in the realm of conduct that is not actionable. See id.

       Ultimately, it is important that the concept of sexual harassment is designed to protect working

women from the kind of attention that can make the work place “hellish.” Baskerville, 50 F.3d at 430.

It is not designed to purge the workplace of vulgarity. Id. If the court assumes that all of the

plaintiffs’ allegations are true, Larsen certainly acted in a most immature and inappropriate fashion.

However, all of the incidents, spread over the approximately eight months that Larsen worked in the

child support division, could not reasonably lead to the conclusion that Larsen subjected the plaintiffs

to an environment that could be described as hellish.

       On the contrary, the plaintiffs’ allegations are analogous to those that the Seventh Circuit has

consistently deemed not actionable. For example, in McPherson v. City of Waukegan, the court found

that a superior’s actions did not create a hostile work environment (prior to the time that the plaintiff

was assaulted) even though the superior asked the plaintiff and other female employees what color bra

they were wearing on several occasions, asked McPherson in a suggestive tone of voice if he could

“make a house call” when she was sick, pointed out lingerie in a catalog and told McPherson that she

would look good wearing it, and pulled back McPherson’s top to look at her bra. 379 F.3d 430, 434-

435, 439 (7th Cir. 2004). Similarly, in Weiss v. Coca-Cola Bottling Company of Chicago, the court

found the plaintiff’s allegations not actionable where Weiss’ supervisor allegedly asked about her

personal life, complimented her, told her that she was beautiful, asked her on dates, called her a dumb

blond, attempted to kiss her outside of work, put an “I love you” sign on her desk, put his hand on her

shoulder several times, avoided her for a period of time after his affections were rejected, and twice

attempted to kiss her while at work. 990 F.2d 333, 334-35 (7th Cir. 1993). And finally, in Cowan v.


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Prudential Insurance Company of America, the court held that allegations were not actionable where

plaintiff claimed that a provocatively dressed woman was depicted in client distributions, a cartoon

depicting two safes involved in “safe sex” was circulated, the plaintiff’s manager said he could do like

the plaintiff and abstain from sex, the plaintiff’s supervisor ignored her and refused to speak with her,

the plaintiff was not included in social activities that were attended by male co-workers only, male co-

workers called each other names that were derogatory to women, an immediate supervisor loudly

referred to women as “blood-suckers,” “leeches” and “dizzy broads,” the male employees frequently

discussed their exploits at a local strip club, a photograph of a male employee with a stripper was

circulated in the office, sexual joking was rampant, and plaintiff’s supervisor asked her why she did

not “just get married and let some man take care of her.” 141 F.3d 751, 756 (7th Cir. 1998).

       Accordingly, in light of the threshold for actionable conduct developed by Seventh Circuit case

law, the court will grant Racine County’s motion for summary judgment on the plaintiffs’ hostile work

environment claims. As no hostile work environment was created, the court need not discuss Racine

County’s affirmative defense based on Faragher and Ellerth, and the court will turn its attention to

Racine County’s motion for summary judgment on the plaintiffs’ retaliation claims.

                                   II. RETALIATION CLAIMS

                                      Position of the Plaintiffs

       In addition to their hostile work environment claims, the plaintiffs also assert retaliation claims

against Racine County.      In her complaint, Schultz alleges that she lost certain supervisory

responsibilities after she refused Larsen’s sexual advances and reported Larsen’s conduct to Racine

County. (Schultz Cmplt. ¶¶ 47-49.). Specifically, Schultz claims that William Adams (“Adams”),

Racine County’s director of human resources, refused to communicate with her regarding work related


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matters; that John Lehman (“Lehman”), who replaced Larsen as the child support division manager,

effectively eliminated Schultz’s authority by telling Schultz’s staff that her “job is useless;” by

commenting that she is “too stupid for the job;” and by not involving with Schultz on work that she

should be supervising. In addition, Schultz claims that Lehman changed the assignments of her staff

and removed staff from her control. (Schultz Cmplt. ¶¶ 63-67.).

        Birchell-Sielaff’s retaliation claim alleges that Adams and Lehman did not communicate with

her and that she was not offered the position of temporary division manager after Larsen was

transferred to a different job, despite that she filled that position in the past. (Birchell-Sielaff Resp.

Br. at 41.). Moreover, Birchell-Sielaff states that Lehman removed her responsibility to make day-to-

day decisions about the department, that Larsen did not meet with her face-to-face, and that she no

longer has hiring authority, and that she was not permitted to attend a conference. (Birchell-Sielaff

Resp. Br. 41- 42.).

        Jackson’s retaliation claim alleges that Adams and Mark Janiuk (“Janiuk”), who acted as the

temporary child support division manager after Larsen’s transfer, failed to communicate with her.

(Jackson and Lisiecki Cmplt. ¶¶ 30-31.). As a result of their alleged lack of communication, Jackson

states that she was not able to effectively perform her job. (Id.). Jackson also claims that, once

Lehman replaced Larsen as division manager, she was no longer consulted about her staff’s

assignments, was not advised about what directives and projects the division was carrying out, and,

generally, not communicated with. According to Jackson, Lehman required the supervisors to submit

emails to him for approval, did not respond to her attempts to discuss work related-issues, and ignore

a number of her emails. (Jackson and Lisiecki Cmplt. ¶¶ 31-41; Jackson and Lisiecki Resp. Br. 27-

28.). Furthermore, Jackson claims that Lehman usurped her for performance reviews and job


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assignments, did not allow her to attend a conference, and eliminated some of her job duties—namely,

assigning work, budgeting, and hiring staff. (Jackson and Lisiecki Resp. Br. 27-28.).

        From Jackson and Lisiecki’s joint complaint, it is unclear whether Lisiecki intended to assert

a retaliation claim. The section of the joint complaint that is labeled “Retaliation” states that Lisiecki

filed a grievance about Larsen’s conduct with her union, that Racine County did not respond because

Larsen was not a member of the bargaining unit, and that Racine County responded to other

grievances about non-union supervisors’ conduct in the past. (Lisiecki Cmplt. ¶ 43-45.). However,

the complaint does not specify any adverse employment action that occurred after Lisiecki filed a

complaint about Larsen’s conduct. In addition, Lisiecki is not mentioned in Jackson’s and Lisiecki’s

joint response to Racine County’s motion for summary judgment on their retaliation claims. (Jackson

and Lisiecki Resp. Br. 27-28.). Accordingly, the court will grant the defendant’s motion for summary

judgment on Lisiecki’s retaliation claim, to the extent that a retaliation claim was intended, and

Lisiecki will not be discussed further in this portion of the decision.

                    Summary Judgment Standard of Review for Retaliation

        Racine County filed a motion for summary judgment as to the plaintiffs’ retaliation claims.

To defeat Racine County’s motion, the plaintiffs may proceed under the direct or the indirect method

of proof. Haywood v. Lucent Techs., Inc., 323 F.3d 524, 531 (7th Cir.2003); Rogers v. City of

Chicago, 320 F.3d 748, 753 (7th Cir. 2003). Under the direct method of proof, the plaintiff must

establish (1) a statutorily protected activity; (2) an adverse employment action taken by the employer;

and (3) a causal connection between the two. Davis v. Con-Way Transp. Central Express, Inc., 368

F.3d 776, 786 (7th Cir.2004). To satisfy the third element of the direct method, a plaintiff must point

to an outright admission by the decision maker that the challenged action was undertaken because of


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the plaintiff's protected activity, or circumstantial evidence that forms a “convincing mosaic” that

shows the discriminatory intent by the decision maker. Rhodes v. Illinois Dept. of Transp., 359 F.3d

498, 504 (7th Cir.2004).

        Alternatively, the plaintiff my proceed under the indirect method. In Stone v. City of

Indianapolis, 281 F.3d 640 (7th Cir.2002), the Seventh Circuit enunciated a new rule for proving

retaliation under the indirect method. Rogers, 320 F.3d at 755. Under Stone, a plaintiff must show

that after filing the [complaint of discrimination] only she, and not any similarly situated employee

who did not file a charge, was subjected to an adverse employment action even though she was

performing his job in a satisfactory manner. Id. Breaking this test into its elements, the plaintiffs must

show the following: (1) that she engaged in a statutorily protected activity; (2) that she met the

employer's legitimate expectations; (3) that she suffered an adverse employment action; and (4) that

she was treated less favorably than similarly situated employees who did not engage in statutorily

protected activity. Moser v. Indiana Dept. of Corrections, 406 F.3d 895, 903-04 (7th Cir. 2005). If

the defendant presents no evidence in response, the plaintiff is entitled to summary judgment. Rogers,

320 F.3d at 755. If the defendant presents unrebutted evidence of a noninvidious reason for the

adverse action, he is entitled to summary judgment. Otherwise there must be a trial. Id. This clarified

rule is a variation of the familiar burden-shifting method found in McDonnell Douglas Corp. v. Green,

411 U.S. 792 (1973), and eliminates the requirement, noted in some of this circuit’s earlier decisions,

that the plaintiff prove a “causal link” between his protected action and an adverse employment action.

Id. (citing Stone, 281 F.3d at 642-44).

        Notably, regardless of whether the plaintiff uses the direct method or the indirect method, the

plaintiff must always point to a materially adverse employment action. Hottenroth v. Village of


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Slinger, 388 F.3d 1015, 1029 (7th Cir. 2004). Racine County’s motion for summary judgment claims,

among else, that none of the plaintiffs satisfy this requirement.

                                              Analysis

       Although creating a precise list of activities that constitute adverse employment actions would

be impossible, an adverse employment action might be indicated by a termination of employment, a

demotion evidenced by a decrease in wage or salary, a less distinguished title, a material loss of

benefits, significantly diminished material responsibilities, or other indices that might be unique to

a particular situation. Moser, 406 F.3d at 904 (citing Crady v. Liberty Nat'l Bank & Trust Co. of

Indiana, 993 F.2d 132, 136 (7th Cir.1993)). An adverse employment action need not be quantifiable

in terms of pay or benefits. See Smart v. Ball State Univ., 89 F.3d 437, 441 (7th Cir.1996). At the

same time, however, not every change that makes an employee unhappy is actionable for purposes of

a Title VII retaliation claim. Hilt-Dyson v. City Of Chicago, 282 F.3d 456, 466 (7th Cir. 2002).

Moreover, an “adverse employment action” must be materially adverse and not merely an

inconvenience or a change in job responsibilities. Griffin v. Potter, 356 F.3d 824, 829 (7th Cir. 2004).

       1. Jackson’s Retaliation Claim

       In the present case, the plaintiffs have not met their burden of proof in establishing that they

were subjected to materially adverse employment actions. Jackson’s claim will be discussed first.

In regard to Jackson, it is clear that many changes were made when Janiuk and Lehman replaced

Larsen as manager of the child support division. However, it cannot be expected that Lehman, as a

new permanent manager, would run the child support division the exact same way that Larsen did.

While Jackson might have been required to do things differently under Lehman’s lead, it is undisputed

that Jackson was not terminated, was not transferred from the child support division, did not receive


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a decrease in her salary, was not assigned a less distinguished title, and maintained the same benefits.

In addition, it is irrelevant that Lehman did not communicate with Jackson or that he was unfriendly

to Jackson, if Jackson fails to also establish that Lehman’s actions prevented her from doing her job.

In that regard, it is important that Lehman handled certain tasks himself and dealt with employees

personally. As to those things, there might not have been a need for Lehman to consult with Jackson.

However, this does not mean that Jackson’s job necessarily became worse. For example, Jackson does

not allege that, in place of her previous duties, Lehman assigned her duties that were demeaning or

well below her capabilities. In fact, Jackson fails to discuss what amount of time she dedicated to the

duties that were no longer performed once Lehman took over for Larsen, does state what tasks she

continued to do, and does not compare the amount of time she spent on her different duties. This

prevents the court from concluding that Jackson’s material responsibilities were “significantly

diminished” rather than simply altered.

       Furthermore, the fact that Lehman did not consult with Jackson does not mean that Jackson

was deprived of her authority to supervise the staff. If Jackson did not know what tasks Lehman

assigned to the staff because Lehman did not discuss projects with her, Jackson could have taken the

same approach that Lehman did and consulted with the staff directly. While it might have been more

time consuming to speak with employees individually, rather than discuss objectives in a single

meeting with Lehman, inconvenience does not constitute sufficient basis for a retaliation claim. For

the same reason, Jackson cannot proceed based on the fact that Lehman required her to submit emails

for his approval before she sent them to her staff. Furthermore, Jackson’s claim that she was not

permitted to attend a conference cannot be considered an adverse employment action because Jackson

does explain what the topics would have been discussed at the conference, does not specify the


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duration of the conference, and, ultimately, has made no showing that the conference was vital to her

job. Accordingly, and for all of these reasons, the court will grant Racine County’s motion as to

Jackson’s retaliation claim.

        2. Birchell-Sielaff’s Retaliation Claim

        Much of the reasoning discussed in regard to Jackson applies with equal force to the claims

made by Birchell-Sielaff. Like Jackson, Birchell-Sielaff does not claim that she was terminated, was

transferred from the child support division, received a decrease in her salary, was assigned a less

distinguished title, or lost benefits. In addition, while Birchell-Sielaff alleges that her responsibilities

to make day-to-day decisions and to hire employees were eliminated when Larsen was transferred out

of the child support division, Birchell-Sielaff fails to provide a specific comparison of the tasks that

she did while Larsen was the manager and the tasks she did once Lehman took over. Accordingly,

the court again cannot conclude that Birchell-Sielaff’s job was “significantly diminished” rather than

simply altered. Moreover, for the reasons discussed in regard to Jackson’s retaliation claim, Birchell-

Sielaff has not demonstrated that Lehman’s failure to communicate with her and his elimination of

management meetings exceeds inconvenience, and Birchell-Sielaff has not explained why attendance

at the child support conference was vital to her job.

        Furthermore, Birchell-Sielaff’s claim that she was not appointed as the director of the child

support division when the position was vacant is not severe enough to constitute an adverse

employment action. There is an important difference between Birchell-Sielaff’s daily duties as a

supervisor and her occasional promotion to acting director. It stands to reason that the temporary

acting director will be whomever Racine County feels is most qualified at the time of the vacancy.

This might be Birchell-Sielaff, but it very well might not be. Thus, promotion was not an established


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part of Birchell-Sielaff’s position before her complaint was filed, and Birchell-Sielaff cannot lose what

she did not have in the first place. Thus, absent a stated policy or recognized practice that Birchell-

Sielaff was entitled to the temporary promotion, failure to appoint her as acting director cannot

constitute an adverse employment action. More importantly, if Birchell-Sielaff would have been

appointed as acting director, the promotion would have been temporary. Therefore, failure to promote

Birchell-Sielaff is not the significant type of change that could be deemed an adverse employment

action. Consequently, Racine County’s motion for summary judgment as to Birchell-Sielaff’s

retaliation claim will be granted.

       3. Schultz’s Retaliation Claim

       The parties dispute whether Racine County moved for summary judgment on Schultz’s

retaliation claim. In her response brief, Schultz states that Racine County “did not file a motion for

summary judgment on Ms. Schultz [sic] claim other than to incorrectly state that she did not plead

retaliation in her complaint.” (Schultz Resp. Br. at 11.). Based on this position, Schultz did not

address her retaliation claim in response to Racine County’s motion.

       Conversely, Racine County does not respond to Schultz’s position in its reply brief. Instead,

Racine County proceeds as if the clarity of its motion was not challenged and states that summary

judgment as to Schultz’s retaliation claim is required because the only opposition to the motion is

based on citation to Schultz’s complaint. (Racine County Reply at 39.).

       Accordingly, the first issue that the court must resolve is whether Racine County’s motion

adequately apprises Schultz that summary judgment as to her retaliation claim has been sought. In

the opinion of this court, it does. In its motion for summary judgment, Racine County states that it

seeks summary judgment in its favor “with respect to all claims of the Plaintiffs, Brenda Jackson,


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Sherri Lisiecki, Patricia Birchell-Sielaff and the Estate of Linda R. Schultz.” (Racine County Mot.

at 2.). Moreover, Schultz later states that Racine County does not discuss her retaliation claim beyond

its argument that Schultz died before her deposition was taken or her affidavit could be sworn, leaving

Schultz with only hearsay and testimony that is not based on personal knowledge. (Schultz Resp. Br.

at 39, n. 2.). This argument in undisputedly applicable to Schultz’s hostile work environment claim

and her retaliation claim.

       Thus, in opposition to Racine County’s motion for summary judgment, Schultz was obligated

to address Racine County’s evidentiary challenge, at a minimum. In this regard, Schultz states only

that she has already addressed Racine County’s claim previously in her response. (Schultz Resp. Br.

at 39, n. 2.). The court finds no such discussion. In regard to Racine County’s evidentiary challenge

to her hostile work environment claim, Schultz responds as follows:

       While Defendant [sic] has been left to rely almost entirely upon self-serving affidavits,
       the Estate is not forced into such a predicament. The Estate has witnesses who have
       first-hand knowledge of what was done by Larsen to Ms. Schultz. Both Russ Palermo,
       an employee under Ms. Schultz’s supervision, and Ms. Sielaff, Ms. Schultz’s
       immediate supervisor, witnessed Larsen’s conduct and Ms. Schultz’s responses first-
       hand. With this reliable and credible evidence, the Estate can meet its burden of proof.

(Schultz Resp. Br. at 20.). Schultz then goes on to cite the affidavit of Russ Palermo (“Palermo”) and

(via her proposed findings of fact) the affidavit of Birchell-Sielaff for the proposition that Larsen’s

conduct towards Schultz was improper. Schultz’s argument and the affidavits are clearly limited to

Schultz’s hostile work environment claim and do not discuss retaliation. Thus, even if the court were

to scour Schultz’s pleadings based on the simple statement that Racine County’s argument has

“already addressed,” a task that the court is not obligated to do, Schultz has failed to produce evidence

sufficient to prevent summary judgment. In fact, as Racine County points out in its reply brief,



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Federal Rule of Evidence 56(e) states that a party opposing summary judgment “may not rest upon

the mere allegations or denials of the adverse party's pleading.” Rather, Schultz “by affidavits or as

otherwise provided in this rule, must set forth specific facts showing that there is a genuine issue for

trial. If the adverse party does not so respond, summary judgment, if appropriate, shall be entered

against the adverse party.” Summary judgment in favor of Racine County is appropriate on this basis.

Moreover, even if the court were to assume the truth of the allegations set forth in Schultz’s complaint,

Schultz cannot avoid the fact that her allegations are analogous to those of Birchell-Sielaff and

Jackson. Thus, Schultz did not suffer an adverse employment action and summary judgment is

appropriate on that basis as well.

       For all of the reasons stated herein the court now enters the following order on the parties’

cross-motions for summary judgment:

       IT IS THEREFORE ORDERED that Racine County’s motions for summary judgment as

to Brenda Jackson, Sherri Lisiecki, The Estate of Linda R. Schultz, Patricia Birchell-Sielaff are

granted.

       IT IS FURTHER ORDERED that the plaintiffs’ motions for partial summary judgment are

denied.

       IT IS FURTHER ORDERED that the Clerk shall enter judgment dismissing the plaintiffs’

complaints and case numbers 02-C-936, 02-C-1262, and 02-C-1263 with prejudice.

       Dated at Milwaukee, Wisconsin this 19th day of September, 2005.


                                               s/AARON E. GOODSTEIN
                                               United States Magistrate Judge




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